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APPENDIX I
TAB P
 

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TIT SS

From: Michae] Baksa
Tat Bettha Spahr
Date: 22Tid dazPM
Subject: Re: Textbooks
Bed,

tis entirely up bo you if you want to prepare anything for the board to read. Not sure if we gave then
anything last year. 1 know | don't have a copy.

The money would stay in a general fund so that we can purchase textbooks when we naed them. Ve
wouldn't have to wail eight years. Hope this helps. Thanks

Michael R.Baksa
Assistant Superintandent
Dover Area School District
? School Lane

Gover, PA T7318

17 282-3677 ext 206

TTT 702-9659 fax

=>> Bartha Saher 02/2704 OS: SEAM ae
Mr. Baksa, ,

We have already prepared several times the diferences between old text books and new texts boos.
Wwe were told the texts books would not be purchased for biology, chernistry |, and chemistry il. What
then is the purpose for asking for this information again?

Ady department would ike an answer as to whetis happening to the funds for our books that the board
previously approved, Oo we now need to wait another eight years far books to be approved on the new
cycle? Wa are very disappointed that we are being punished and denied our new baoks because we
have insisted that the books in the department are covered and cared for. Bindings on books for the

college level{ chemistry |l) are designed to last for one year. Those books have a copyrighl date of 1987
and are two years old when printed.

Bertha E. Spahr

a> Michael Baksa 03/28/04 08:43AM >>>

Currently, Mi. Bensell is reviewing our textbook requests. The board has established tw criteria for the
feplacement of textbooks, Textbooks will be replace if {7} they ae wom out or (2) if the new editions
contain content which substantially is missing in the previous edition and supports our standards.

If you would like to write up a brief jusitfication for the purchase of the science books for next year | will
copy that to the foard along with our requests. Hope this helps.

On another note, Mr. Bonsell has a agreed that we need to put money asice each year for texthooks 54
that whenever the board agrees to purchase textbooks, money will be available. Thanks

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